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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                              SOUTHERN DIVISION
                                 AT PIKEVILLE

CIVIL ACTION NO. 20-65-DLB

EDWARD NELLSON                                                            PLAINTIFF


v.                                    JUDGMENT


FEDERAL BUREAU OF PRISONS, et al.                                       DEFENDANTS

                                     *** *** *** ***

       Pursuant to the Memorandum Opinion and Order entered contemporaneously

herewith, and the Court being otherwise sufficiently advised,

       IT IS ORDERED and ADJUDGED as follows:

       (1)    Defendants’ Motion to Dismiss (Doc. # 60) is GRANTED. Judgment is

entered in favor of Defendants on all of Plaintiff’s claims;

       (2)    Plaintiff’s Amended Complaint (Doc. # 52) is DISMISSED WITH

PREJUDICE; and

       (3)    This matter is STRICKEN from the Court’s active docket.

       This is a FINAL and APPEALABLE Order and no just cause for delay exists.

       This 29th day of September, 2021.




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